                  Case 2:15-md-02641-DGC Document 13346 Filed 11/13/18 Page 1 of 2




                                               UNITED STATES DISTRICT COURT
                                                         FOR THE
                                                   DISTRICT OF ARIZONA

Brooke Carpenter Ciurej,                                 )
                                                         )
                     Plaintiff,                          )           MDL Case No. 2:15-md-02641-DGC
                                                         )
                         v.                              )           Civil Action No. CV-18-03689-PHX-DGC
                                                         )
C. R. Bard Inc. and Bard Peripheral                      )
Vascular, Inc.,                                          )
                                                         )
                    Defendant.

                                           WAIVER OF THE SERVICE OF SUMMONS
To: Lopez McHugh LLP - Newport Beach, CA
       (Name of plaintiff’s attorney or unrepresented plaintiff)

        I have received your request to waive service of a summons in this action along with a copy of the complaint, two
copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

         I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

         I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court’s
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.

        I also understand that I, or the entity I represent, must file and serve an answer or a motion under Rule 12 within
60 days from 11/7/2018, the date when this request was sent (or 90 days if it was sent outside the United States). If I fail
to do so, a default judgment will be entered against me or the entity I represent.

Date:    November 9, 2018                                    /s/ Richard B. North, Jr.
                                                             Signature of the attorney or unrepresented party

C. R. Bard, Inc. and Bard Peripheral                         Richard B. North, Jr. (Ga. Bar No. 545599)
Vascular, Inc.                                               Printed Name
Printed name of parties waiving service of
summons                                                      Nelson Mullins Riley & Scarborough, LLP
                                                             201 17th St., NW, Suite 1700, Atlantic Station, Atlanta, GA 30363
                                                             Address

                                                             richard.north@nelsonmullins.com
                                                             E-mail Address

                                                             (404) 322-6155
                                                             Telephone number

                                         Duty to Avoid Unnecessary Expenses of Serving a Summons
          Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a
summons and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff
located in the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.
                   Case 2:15-md-02641-DGC Document 13346 Filed 11/13/18 Page 2 of 2




          “Good cause” does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
no jurisdiction over this matter or over the defendant or the defendant’s property.

        If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service.

           If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the
plaintiff and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been
served.




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